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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
       Plaintiff,                              )
                                               ) Case No. 4:98CR00501 ERW
vs.                                            )          4:03CR00171ERW
                                               )          4:08CR00549 CDP
ALLISON BROWN,                                 )
                                               )
       Defendant.                              )

        ORDER OF DEFENDANT’S TEMPORARY RELEASE FROM CUSTODY

       This matter comes before the Court on Defendant’s Motion for Temporary Release from
Custody [doc. #76 - filed in 4:98CR00501] to attend the funeral of her father at 11:00 a.m. Upon
review of the record in this matter and discussion with counsel for Defendant Allison Brown, the
Court makes the following Order:
       IT IS HEREBY ORDERED that the Court GRANTS the request and orders her released
from custody immediately. She shall report back to the St. Louis County Justice Center no later than
4:00 p.m. on this date.
       So Ordered this 15th      Day of December , 2008.


                                              _________________________________________
                                              E. RICHARD WEBBER
                                              UNITED STATES DISTRICT JUDGE
